

Coly v Yorke  &amp;  Sons Auto, Inc. (2024 NY Slip Op 51721(U))



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Coly v Yorke  &amp;  Sons Auto, Inc.


2024 NY Slip Op 51721(U)


Decided on December 19, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on December 19, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Tisch, J.P., James, Perez, JJ.



570428/24

Georges Coly, Plaintiff-Appellant, 
againstYorke &amp; Sons Auto, Inc., and Alive Auto Repair, Inc., Defendants-Respondents.




Plaintiff appeals from a judgment of the Civil Court of the City of New York, Bronx County (Ashlee Crawford, J.), entered May 11, 2023, after inquest, in favor of the defendants dismissing the action.




Per Curiam.
Judgment (Ashlee Crawford, J.), entered May 11, 2023, affirmed, without costs.
In reviewing the record, we find that Civil Court properly dismissed the action after inquest. Given the inquest court's fully supported finding that plaintiff's testimony was "replete with substantial gaps" and "inconsistencies," as well as a lack of documentary proof, we agree that plaintiff did not establish a viable cause of action against defendants for replevin and money damages arising from the alleged wrongful retention of his vehicle (see Woodson v Mendon Leasing Corp., 100 NY2d 62 [2003]; Litvinskiy v May Entertainment Group, Inc., 44 AD3d 627 [2007]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: December 19, 2024









